             Case 1:19-cv-02070-JDB Document 20-2 Filed 09/02/21 Page 1 of 4

                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________________________
                                                )
MEHRANGIZ KAR AND AZADEH POURZAND               )
             Plaintiffs,                        )
                                                )
          v.                                    )                Civil Action No.: 1:19-cv-02070-JDB
                                                )
THE ISLAMIC REPUBLIC OF IRAN, et al.;           )
             Defendants.                        )
________________________________________________)

                                   INDEX TO EXHIBITS TO
                               MOTION FOR DEFAULT JUDGMENT



     EXHIBIT                                      Personal Documents
        #
         1      Mehrangiz Kar Birth Certificate
         2      Mehrangiz Kar Naturalization Certificate
         3      Mehrangiz Kar Bar License
         4      Mehrangiz Kar Curriculum Vitae
         5      Azadeh Pourzand Birth Certificate
         6      Azadeh Pourzand Naturalization Certificate
         7      Siamak Pourzand Birth Certificate
        8       Siamak Pourzand Death Certificate
     EXHIBIT                                           Affidavits
        #
        9       Mehrangiz Kar Declaration
        10      Azadeh Pourzand Declaration
        11      Lily Pourzand Declaration
        12      Payam Akhavan Declaration
        13      Ali Arab Declaration
        14      Drewery Dyke Declaration
        15      Gleb Zukhov Declaration
        16      Ali Hamedani Declaration

                                   Defendant’s Exhibit List Page 1 of 4
           Case 1:19-cv-02070-JDB Document 20-2 Filed 09/02/21 Page 2 of 4

   17         Reserved
  18          Lohrasseb Pourzand Declaration
EXHIBIT                                   Medical Documentation
   #
  19          Doctor’s Note for Siamak Pourzand (Sep. 21, 2010)
   20         Medical Report from Dr. Nazemi (Dec. 15, 2009)
   21         Hospital Certification (Sep. 20, 2010)
   22         Reserved
  23          Medical note from Dr. Massumi (Oct. 17, 2003)
EXHIBIT                                    Letters and Appeals
   #
  24          "Tell Me, Where is My Father?" The Washington Post (Dec. 30, 2001)
   25         Letter from Azadeh to Supreme Leader (Jan. 11, 2007)
   26         Letter from Mehrangiz Kar to UN Human Rights Commission
   27         Letter from Family to Amnesty International (May 5, 2002)
              Letter from Mr. Baktiari, Professor of the University of Maine, to Kofi Annan (June
   28
              30, 2003)
              Appeals from Amnesty International

              29(a) – Nov. 27, 2001
 29(a-e)      29(b) – Feb. 1, 2002
              29(c) – May 10, 2002
              29(d) – July 31, 2002
              29(e) – May 2004
   30         Appeal from Reporters Without Borders (Apr. 20, 2004)
   31         Letter from the Woodrow Wilson Center to UN (Feb. 2, 2002)
   32         Letter from PEN America Center (July 30, 2002)
   33         Urgent Appeal: from PEN-Canada (May 10, 2002)
   34         Biden Statement for Iranian Prisoner release (July 13, 2005)
              Letter from International Committee for Transition to Democracy in Iran (June 30,
   35
              2002)
  36          Letter from UK Foreign & Commonwealth Office (May 21, 2003)
EXHIBIT                                        Media and Reports
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              Mockery of Justice: The Framing of Siamak Pourzand, The Iran Human Rights
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              Documentation Centre (2008)
              Amnesty International, "Siamak Pourzand: Persecuted to Death, Harassed after
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              Death" (May 6, 2011)
              "Iranian Authorities Responsible for Siamak Pourzand's Death," Reporters Without
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              Borders (May 2, 2011)
                                 Defendant’s Exhibit List Page 2 of 4
           Case 1:19-cv-02070-JDB Document 20-2 Filed 09/02/21 Page 3 of 4

              IranMania News article, “Pourzand Paraded on State TV allegedly 'confessing'" (July
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              26, 2002)
   41         Boston Globe, "I would like to die in my country" (March 21, 2006)
              The Huffington Post, "Khamenei is Pessimistic About Nuclear Negotiations" (Feb 22,
   42
              2014)
              The New York Times, "Hard Liners Put Iranian on Trial on Spying Charges" (March
   43
              14, 2002)
                  (a) U.S. State Department Iran Human Rights Report (2019)
                      (https://www.state.gov/wp-content/uploads/2020/03/IRAN-2019-HUMAN-
                      RIGHTS-REPORT.pdf)
 44(a-b)
                  (b) U.S. State Department Iran Human Rights Report (2011)
                       (https://www.justice.gov/sites/default/files/eoir/legacy/2013/06/10/iran_1.pdf)
              UN Special Rapporteur on Torture (A/HRC/43/49) Report (2020)
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              (https://undocs.org/A/HRC/43/49)
              Orwellian State: Islamic Republic of Iran's State Media as a Weapon of Mass
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              Suppression (June 2020) (https://www.fidh.org/IMG/pdf/iran749aweb.pdf)
              US State Department Country Reports on Terrorism
              (https://www.hsdl.org/?search&exact=Country+Reports+on+Terrorism&searchfield=
              series&collection=limited&submitted=Search&advanced=1&release=0&so=date)

   47         47a (2007) - https://www.hsdl.org/?abstract&did=485619, 172
              47b (2008) - https://www.hsdl.org/?abstract&did=37161, 182
              47c (2009) - https://www.hsdl.org/?abstract&did=20729, 192
              47d (2010) - https://www.hsdl.org/?abstract&did=684974, p.149
              47e (2011) - https://www.hsdl.org/?abstract&did=719420, p. 6, 92, 172-73
              UN Special Rapporteur Report on Human Rights in Iran (2021)
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              (https://undocs.org/en/A/hrc/46/50)
   49         2017 Note by U.N. Secretary-General (A/72/178) (https://undocs.org/A/72/178)
              2008 Note by U.N. Secretary-General (A/63/175) (https://documents-dds-
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              ny.un.org/doc/UNDOC/GEN/N08/440/75/PDF/N0844075.pdf?OpenElement)
              2010 Report of Special Rapporteur on Torture (A/HRC/13/39)
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              (https://ap.ohchr.org/documents/dpage_e.aspx?si=A/HRC/13/39)
   52         2019 Note by U.N. Secretary-General (A/74/148) (https://undocs.org/A/74/148)
              U.N. WGAD, Opinion No. 8/2003 (Nov. 26, 2003) (https://documents-dds-
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              ny.un.org/doc/UNDOC/GEN/G03/169/00/PDF/G0316900.pdf?OpenElement)
              CHRI article (Feb. 20, 2020) (https://iranhumanrights.org/2020/02/conservationist-
   54         niloufar-bayani-iran-torture-and-sexual-threats-detailed-in-letters-by-jailed-former-
              un-environment-consultant/)
              Freedom From Torture report (Dec. 2017)
   55
              (https://www.refworld.org/publisher,FFT,,,5a3925444,0.html)
EXHIBIT                                      Procedural Documents
   #
              J.P. Morgan's historical prime rate chart (https://www.jpmorganchase.com/about/our-
   56
              business/historical-prime-rate)

                                  Defendant’s Exhibit List Page 3 of 4
          Case 1:19-cv-02070-JDB Document 20-2 Filed 09/02/21 Page 4 of 4

  57         Offer to Arbitrate
58(a-b)      Electronic U.S.P.S. Certified Mail Receipt
  59         Entry of Default
  60         Service of Process




                                  Defendant’s Exhibit List Page 4 of 4
